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                            THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


THE INSURANCE COMPANY OF THE
STATE OF PENNSYLVANIA, as subrogee of
Union Investment Real Estate GmbH,

               Plaintiff,
                                                          Case: 1:12-cv-01817-EGS
vs.

INDUSTRIAL STEAM CLEANING, INC.
d/b/a GREASEBUSTERS, et. al.,

               Defendants.


      STIPULATION AND CONSENT ORDER OF DISMISSAL WITH PREJUDICE

       COME NOW, the Parties, THE INSURANCE COMPANY OF THE STATE OF

PENNSYLVANIA AS SUBROGEE OF UNION INVESTMENT REAL ESTATE GMBH

(“ICSOP”), INDUSTRIAL STEAM CLEANING, INC., INDUSTRIAL STEAM CLEANING,

INC., D/B/A GREASEBUSTERS (together, “ISC”), and SIMPLEXGRINNELL, LP (“SG”)

(collectively, the “Parties”), by counsel, hereby jointly stipulate and agree, pursuant to Fed. R.

Civ. P. 41 that:

       Whereas, ICSOP filed the above-captioned case on or about November 8, 2012

(“Action”); and

       Whereas, ISC and SG filed cross-claims against one another on or about April 1, 2013

and April 3, 2013, respectively; and

       Whereas, the Parties have come to an agreement on confidential terms which fully and

finally resolves the allegations asserted in the Action and all cross-claims thereto without any

admission of wrongdoing as to any Party;
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       Whereas, based on that agreement, the Parties now desire to dismiss this matter with

prejudice and to forever relinquish her right to any claim alleged or that could have been alleged

against each other;

       Accordingly, the Parties jointly request and agree to the dismissal of the above-captioned

Action, and all cross-claims thereto, with prejudice.


       SO ORDERED this _____ of _________________, 2013.


                                                            ______________________________
                                                            United States District Judge




                                      INSURANCE COMPANY OF THE STATE OF
                                      PENNSYLVANIA, AS SUBROGEE OF UNION
                                      INVESTMENT REAL ESTATE GMBH



                                      __/s/____________________________________
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                                      Samantha J. Foss, Esquire
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                                      Philadelphia, PA 19103
                                      Counsel for Plaintiff
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                                      INDUSTRIAL STEAM CLEANING, INC., AND
                                      INDUSTRIAL STEAM CLEANING, INC.,
                                      D/B/A GREASEBUSTERS

                                      By Counsel:


                                      __/s/____________________________________
                                      Joshua M. Hoffman, Esquire (Bar No. 495390)
                                      FRANLIN & PROKOPIK, PC

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                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the foregoing Stipulation and

Consent Order of Dismissal with Prejudice was served via the Court’s CM/ECF online filing

system, which will forward an electronic copy of said filing to the counsel of record, this 13th day of

December, 2013.




                                               /S/ Joshua M. Hoffman
                                               Joshua M. Hoffman




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